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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

Michigan Urgent Care &
Primary Physicians, P.C.,


       Plaintiff,
                                              Case No. 5:15-cv-13100-JCO-APP

-vs-


Center for Orthopedic Research and
Education, Inc., doing business as
The CORE Institute, and John Does 1-10,

       Defendants

         STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       This matter having come before the Court upon the stipulation of the parties,
through their undersigned counsel, and the Court being otherwise fully advised in
the premises;
       WHEREAS, the parties, pursuant to Fed R. Civ. Proc. 41(a), hereby stipulate
to the dismissal of Plaintiff's individual claims against Defendant Center for
Orthopedic Research and Education, Inc., doing business as The CORE Institute
with prejudice and without costs. Plaintiff’s putative class claims shall be
dismissed without prejudice and without costs.
       IT IS SO ORDERED.

Date: December 14, 2015                       s/John Corbett O’Meara
                                              United States District Judge




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STIPULATED AND AGREED:



MICHIGAN URGENT CARE &              CENTER FOR ORTHOPEDIC
PRIMARY CARE PHYSICIANS, RESEARCH AND EDUCATION,
P.C.                                INC. d/b/a THE CORE
                                    INSTITITUTE
s/
By one of its attorneys             s/
Daniel Edelman                      By one of its attorneys
Edelman, Combs, Latturner & Goodwin Mark A. Nadeau (AZ Bar No. 011280)
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